              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:08-cr-00128-MR-DLH-15


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                    ORDER
                                )
                                )
WILLIAM HOWARD WILKERSON.       )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion to

Reduce a Sentence of Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2)”

[Doc. 565] filed June 8, 2012.

     On February 3, 2012, the Defendant through appointed counsel filed

a motion for a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)

based on Amendment 750 to the Sentencing Guidelines with regard to

crack cocaine offenses. [Doc. 514]. On April 3, 2012, this Court denied the

Defendant’s motion.    [Doc. 533].   The Fourth Circuit Court of Appeals

dismissed the Defendant’s appeal of the Court’s Order on May 18, 2012.

[See Doc. 548].

     On June 8, 2012, the Defendant, now proceeding pro se, filed

another motion seeking a reduction of sentence pursuant to 18 U.S.C. §



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3582(c)(2) based on Amendment 750. [Doc. 565]. For the reasons stated

in the Court’s prior Order, the Defendant is not entitled to relief under

Amendment 750 and therefore his motion is denied.

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion [Doc. 565] is DENIED.

     IT IS SO ORDERED.         Signed: April 25, 2013




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